Case 2:18-cv-05741-DMG-PLA Document 158 Filed 03/12/19 Page 1 of 16 Page ID #:4740


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   16                          UNITED STATES DISTRICT COURT
   17                        CENTRAL DISTRICT OF CALIFORNIA
   18                                 WESTERN DIVISION
   19 LUCAS R., et al.,                           Case No. 2:18-CV-05741 DMG PLA
   20                   Plaintiffs,               STIPULATED PROTECTIVE
                                                  ORDER
   21         v.
   22   ALEX AZAR, Secretary of U.S.
        Department of Health and Human
   23   Services, et al.,
   24                   Defendants.
   25
   26
   27
   28
                                                                    STIPULATED PROTECTIVE ORDER
                                                                   CASE NO. 18-CV-05741 DMG PLA
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                                                               STIPULATED PROTECTIVE ORDER
                                                              CASE NO. 18-CV-05741 DMG PLA
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    1                                         GENERAL
    2         1.     Purposes and Limitations. On September 7, 2018, Plaintiffs filed a First
    3   Amended Complaint against Defendants (Plaintiffs collectively with Defendants, the
    4   “Parties”). The Parties are presently conducting discovery concerning both Named
    5   Plaintiffs, who were minors in the custody of the Office of Refugee Resettlement
    6   (“ORR”), and current class members in this action, who are minors in the custody of
    7   ORR. The Parties respectfully request that the Court enter a Protective Order
    8   governing the production, disclosure, and dissemination of confidential, personally
    9   identifiable information.
   10         2.     Good Cause Statement.         Good cause exists for the entry of this
   11   Protective Order because some discovery granted, ordered, or provided in this action
   12   is likely to result in the disclosure by the Parties of personal, confidential, or medical
   13   information of individuals, including minors, who are or were in the custody of ORR,
   14   and of third parties. The Court, having found that good cause exists for entry of an
   15   appropriately-tailored confidentiality order governing discovery in this action,
   16   HEREBY ORDERS:
   17         3.     This Protective Order and the terms, obligations, and responsibilities of
   18   the Parties contained herein shall govern all personally identifiable information
   19   disclosed or produced as a result of discovery granted, ordered, or provided in this
   20   action.
   21         4.     Pursuant to 5 U.S.C. § 552a (the “Privacy Act”), this Protective Order
   22   authorizes the parties to (1) produce personally identifiable information that would
   23   otherwise be prohibited from disclosure under the Privacy Act, (2) produce
   24   personally identifiable information without presenting Privacy Act objections to this
   25   Court for a decision regarding such disclosure, and (3) produce information protected
   26   under the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”).
   27   To the extent the Privacy Act or HIPAA allows the disclosure of information
   28   pursuant to a court order, this Protective Order constitutes such a court order, and
                                                                         STIPULATED PROTECTIVE ORDER
                                                    1.                  CASE NO. 18-CV-05741 DMG PLA
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    1   authorizes the disclosure of that information. Notwithstanding the entry of this
    2   Protective Order, nothing in this paragraph shall require production of information
    3   that is prohibited from disclosure (even with the entry of this Protective Order) by
    4   other applicable privileges, statutes, regulations, or authorities by which Defendants
    5   may be bound. This Protective Order shall also govern the safeguarding of such
    6   information by all individuals referenced herein.
    7         5.     As used in this Protective Order, the term “Confidential Personal
    8   Information” includes personally identifiable information or medical information of
    9   individuals who are or were in the custody of ORR, third parties, non-supervisory
   10   federal and non-federal employees, including names and contact information;
   11   confidential commercial or financial information as defined under 5 U.S.C. §
   12   552(b)(4); and any other information that is protected or restricted from disclosure
   13   by statute or regulation, but which the Court may order to be produced. If a
   14   designating Party determines that information not described in this paragraph should
   15   be designated Confidential Personal Information, the Parties shall negotiate the
   16   appropriateness of that designation in good faith and endeavor to resolve any dispute
   17   prior to the production of that information.
   18         6.     Confidential Personal Information may be designated by the Parties in
   19   one or more of the following ways:
   20                a.    Any and all Confidential Personal Information contained in
   21   documents produced by Defendants to Plaintiffs as a result of discovery governed by
   22   this Protective Order shall be designated “Defendants’ Confidential Personal
   23   Information.”
   24                b.    Any and all Confidential Personal Information produced by
   25   Plaintiffs to Defendants as a result of discovery governed by this Protective Order
   26   shall be designated “Plaintiffs’ Confidential Personal Information.”
   27                c.    Confidential Personal Information may be so designated by the
   28   Parties simply by inserting the word “Confidential” in a conspicuous place on any
                                                                      STIPULATED PROTECTIVE ORDER
                                                  2.                 CASE NO. 18-CV-05741 DMG PLA
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    1   documents produced as a result of discovery governed by this Protective Order.
    2   Confidential Personal Information contained in any statement made during an oral
    3   deposition may be designated as “Confidential” either through a statement made on
    4   the record, or by serving written notice of the page and line of the confidential
    5   deposition portions. If a Party orally designates testimony as “Confidential” during
    6   the course of a deposition by making a statement to that effect on the record, the court
    7   reporter shall transcribe the designated pages in a separate volume marked with the
    8   appropriate designation. Any individual attending the deposition must leave the
    9   room prior to discussion of whether material is designable if that person is not
   10   authorized to view Confidential Personal Information under the terms of this
   11   Protective Order. If such designations are made through written notice, they shall be
   12   made within twenty (20) days of receiving the final transcript. Until the aforesaid
   13   period to designate the deposition has passed, the entire transcript shall be deemed
   14   Confidential Personal Information under the terms of this Protective Order.
   15                d.     If a Party disagrees with a designation of Confidential Personal
   16   Information, it shall provide the designating Party written notice of its challenge. The
   17   challenging Party and the designating Party shall attempt to resolve each challenge
   18   in good faith and must begin a meet and confer process under Local Rule 37-1, et.
   19   seq., or under procedures otherwise laid out by the Court. If the Parties cannot
   20   resolve this dispute, they may proceed under the Federal and Local Rules of Civil
   21   Procedure addressing discovery disputes. The designating Party bears the burden of
   22   showing that information is “Confidential Personal Information” as defined herein.
   23   Failure to challenge a designation immediately does not waive a Party’s ability to
   24   bring a later challenge. Frivolous challenges to a designation, and those made for an
   25   improper purpose (e.g., to harass or to impose unnecessary expenses and burdens on
   26   other parties), may expose the challenging Party to sanctions.
   27                e.     Information designated as Confidential Personal Information,
   28   including the portion of any document containing Confidential Personal Information,
                                                                        STIPULATED PROTECTIVE ORDER
                                                   3.                  CASE NO. 18-CV-05741 DMG PLA
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    1   may be disclosed only to the following “Qualified Persons”:
    2                       (1)     Defendants’ Counsel in this action and any employed or
    3   contracted support staff and other contractors or employees of such counsel or
    4   Defendants assisting in this action with an appropriate need to know, including
    5   litigation assistants, paralegals, information technology, information or records
    6   management, investigative, secretarial, or clerical personnel;
    7                       (2)     Plaintiffs’ Counsel in this action and any employed or
    8   contracted support staff and other contractors or employees of such counsel assisting
    9   in this action with an appropriate need to know, including litigation assistants,
   10   paralegals,   information    technology,    information    or    records   management,
   11   investigative, secretarial, or clerical personnel;
   12                       (3)     Any experts retained for this action by counsel to a Party
   13   or support staff or employees for such an expert with an appropriate need to know;
   14                       (4)     Any other person mutually authorized by the Parties’
   15   counsel to examine such information with an appropriate need to know;
   16                       (5)     Potential percipient witnesses with an appropriate need to
   17   know; and
   18                       (6)     The Court and its personnel, including court reporters.
   19                 f.    All persons listed in subparagraphs 6(e)(3)-(5) to whom
   20   Confidential Personal Information is disclosed shall first be required to read the
   21   terms of this Protective Order and sign a copy of the “Acknowledgment of Protective
   22   Order for Discovery” form, attached hereto as Exhibit A. This requirement does not
   23   apply to the disclosure of Confidential Personal Information to the Court and its
   24   personnel, including court reporters.
   25         7.      Nothing in this Protective Order shall limit or in any way restrict
   26   Department of Health and Human Services and Department of Justice Counsel from
   27   discussing the cases of individuals whose Confidential Personal Information is
   28   protected by this Protective Order in order to carry out their operations and
                                                                         STIPULATED PROTECTIVE ORDER
                                                    4.                  CASE NO. 18-CV-05741 DMG PLA
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    1   proceedings. Nothing in this Protective Order shall limit or in any way restrict the
    2   Parties’ use of information obtained through a source other than through discovery
    3   production. Further, nothing in this Protective Order shall restrict Defendants from
    4   performing statutorily authorized functions as they pertain to such individuals, and
    5   Defendants may not be held liable for fully executing such authority in ordinary
    6   course, notwithstanding this Protective Order.
    7         8.     All discovery labeled Confidential Personal Information shall be
    8   disclosed or made available only to Qualified Persons and shall be restricted in
    9   circulation only to said Qualified Persons.
   10         9.     All Qualified Persons to whom Confidential Personal Information is
   11   disclosed are hereby prohibited from disclosing to, or otherwise discussing with, any
   12   person other than other Qualified Persons, any information designated as
   13   Confidential Personal Information, except as otherwise provided in this Protective
   14   Order.
   15         10.    In the event a Party wishes to use any Confidential Personal Information
   16   produced under this Protective Order to move the Court to resolve a matter arising
   17   from litigating this action only, or to oppose such motion, such pleadings shall be
   18   filed in accordance with Local Rule 79-5. Confidential Personal Information may
   19   only be filed under seal pursuant to a court order authorizing the sealing of the
   20   specific Confidential Personal Information at issue; good cause must be shown in the
   21   request to file under seal.    If a Party’s request to file Confidential Personal
   22   Information under seal is denied by the Court, then the receiving Party may file the
   23   information in the public record unless otherwise instructed by the Court.
   24         11.    If counsel for any Party is required by law or court order to disclose,
   25   disseminate, or transmit Confidential Personal Information produced under this
   26   Protective Order to any person or entity not identified herein as a Qualified Person,
   27   the name of that person or entity and the reason access is required shall be provided
   28   to counsel for the Parties no less than fourteen (14) days prior to disclosure,
                                                                     STIPULATED PROTECTIVE ORDER
                                                  5.                CASE NO. 18-CV-05741 DMG PLA
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    1   dissemination, or transmittal, so as to provide the designating Party sufficient time to
    2   object and seek a protective order as necessary. There shall be no disclosure after an
    3   objection has been made until the dispute has been resolved unless disclosure,
    4   dissemination, or transmission is required by law or a court order. Any person, entity,
    5   or organization who receives Confidential Personal Information shall be provided
    6   with a photocopy of this Protective Order, shall sign a copy of the Acknowledgment
    7   of Protective Order for Discovery form, and shall abide by all the terms and
    8   conditions set forth herein unless otherwise permitted by a court order.
    9         12.    Except as provided in this paragraph or elsewhere in this Protective
   10   Order, all Confidential Personal Information produced or exchanged pursuant to this
   11   Protective Order shall be used solely for the purposes of litigating or resolving this
   12   action and for no other purpose whatsoever and shall not be disclosed, disseminated,
   13   or transmitted to any person, entity, or organization except in accordance with the
   14   terms of this Protective Order.
   15                a.     The limitations and restrictions on Confidential Personal
   16   Information in this Protective Order shall not apply with respect to information
   17   obtained through a source other than through the instant litigation.
   18                b.     This Protective Order shall not preclude Plaintiffs’ Counsel from
   19   using the information obtained through discovery production to contact class
   20   members as certified by the Court for purposes of this case and as provided for
   21   pursuant to the procedures laid out in the parties’ Rule 26(f) report.
   22         13.    The Parties shall maintain Confidential Personal Information as follows:
   23                a.     The Parties and anyone to whom Confidential Personal
   24   Information has been disclosed in accordance with paragraph 6 shall maintain
   25   Confidential Personal Information pursuant to the terms of this Protective Order,
   26   subject to further order by this Court (this provision does not apply to Confidential
   27   Personal Information disclosed to and maintained by the Court and its personnel,
   28   including court reporters). Within ten (10) days after the final disposition of this
                                                                        STIPULATED PROTECTIVE ORDER
                                                   6.                  CASE NO. 18-CV-05741 DMG PLA
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    1   action, including any and all appeals, all Confidential Personal Information and
    2   copies thereof in the possession of the Parties and anyone to whom Confidential
    3   Personal Information has been disclosed in accordance with paragraph 6, shall be
    4   returned to the producing Party or destroyed, at the option of the producing Party,
    5   except as this Court may otherwise order. If destroyed, it shall be certified in writing
    6   to the producing Party that such information has been destroyed.
    7                b.     Notwithstanding subparagraph 13(a), counsel of record may
    8   maintain a complete set of discovery for their records through the final disposition of
    9   this action, including any and all appeals or the time during which an appeal is
   10   possible, and for a period of eight (8) years after resolution of the case or after any
   11   judgment becomes final, whichever is later, provided that such counsel maintain the
   12   confidential nature of the discovery, as set forth in this Protective Order.          In
   13   particular, attorneys for the United States may maintain copies of any documents
   14   designated Confidential in their case file for this case, and may maintain copies of
   15   any notes or summaries containing such Confidential material in their case file for
   16   this case, subject to 44 U.S.C. § 3101, et seq., and 5 U.S.C. § 552, et seq.
   17         14.    If a Party inadvertently fails to designate material as Confidential
   18   Personal Information at the time of production, it shall take reasonable steps to notify
   19   the receiving Party of its failure within five (5) business days of discovery of the
   20   inadvertent failure to designate. The designating Party shall promptly supply the
   21   receiving Party with new copies of any documents bearing corrected confidentiality
   22   designations, and the receiving Party shall return or destroy the original materials,
   23   and certify in writing to the designating Party that such information has been
   24   destroyed.
   25         15.    Under Federal Rule of Evidence 502, inadvertent disclosure of any
   26   document or information during discovery in this action shall be without prejudice to
   27   any claims that such material is confidential, privileged, or otherwise protected from
   28   discovery within the meaning of Federal Rule of Civil Procedure 26, and no Party to
                                                                        STIPULATED PROTECTIVE ORDER
                                                   7.                  CASE NO. 18-CV-05741 DMG PLA
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  1   this Protective Order shall be held to have waived any rights by such inadvertent
  2   disclosure. Except in the event that the receiving Party disputes the claim, any
  3   documents the producing Party deems to have been inadvertently disclosed shall be,
  4   within five (5) business days, returned or destroyed, and the receiving Party shall
  5   provide a written certification of counsel that all such disclosed information has been
  6   returned or destroyed. If a claim is disputed, the Parties shall follow the procedures
  7   outlined in the Federal and Local Rules of Civil Procedure and the Court’s standing
  8   orders. Further, any document or information so produced or disclosed, and subject
  9   to any subsequent claim of privilege, work-product or any other protection, including
10    protection under this Protective Order, shall not be introduced into evidence in this
11    or any other proceeding by any person without either: (1) the consent of the producing
12    Party or (2) order of this Court. Nor will such document or information be subject to
13    production (other than in camera) in any proceeding by virtue of the fact that it was
14    produced in this proceeding.
15          16.      Nothing in this Protective Order shall be construed as a waiver of any
16    defense, right or claim by either Party, nor shall this Protective Order affect the right
17    of either Party to seek additional protection against the disclosure of any information,
18    documents or materials, or of the Parties to seek additional disclosures.
19          17.      Nothing in this Protective Order shall be taken to authorize disclosure
20    of information barred from disclosure pursuant to Local Rule 79-5.
21          18.      Nothing in this Protective Order shall prevent disclosure of otherwise
22    protected Confidential Personal Information if the person to whom the Confidential
23    Personal Information pertains, and counsel for all Parties, consents to such disclosure
24    in writing, or if the Court, after notice to the Parties, orders such disclosure.
25    Disclosure shall be limited to the extent to which it is authorized by such person or a
26    Court Order.
27          19.      Nothing in this Protective Order prohibits either Party from sharing with
28    the Court information concerning anyone named as a result of this discovery,
                                                                      STIPULATED PROTECTIVE ORDER
                                                  8.                 CASE NO. 18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 158 Filed 03/12/19 Page 11 of 16 Page ID
                                 #:4750

  1   provided such information is filed pursuant to the rules herein governing the filing of
  2   Confidential Personal Information.
  3         20.    The Parties may seek to modify this Protective Order through a written
  4   agreement signed by counsel for all Parties and approved by the Court. In the event
  5   that all Parties do not agree to a proposed modification, each Party reserves the right
  6   to seek leave of the Court to modify this Protective Order.
  7         21.    This Protective Order shall be binding upon any present or future party
  8   to the Lucas R. et al., v. Azar, et al., No. 2-18-CV-05741-DMG (C.D. Cal.), litigation
  9   as it relates to the production of information as a result of discovery governed by this
10    Protective Order.
11          22.    The terms of this Protective Order shall survive the termination of the
12    above-captioned proceeding after its final disposition for purposes of enforcing this
13    Protective Order.
14    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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                                                                      STIPULATED PROTECTIVE ORDER
                                                 9.                  CASE NO. 18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 158 Filed 03/12/19 Page 12 of 16 Page ID
                                 #:4751

  1   Dated: March 12, 2019           CARLOS HOLGUIN
                                      Center for Human Rights &
  2                                   Constitutional Law
  3                                   HOLLY COOPER
                                      CARTER WHITE
  4                                   University of California Davis School of Law
  5                                   LEECIA WELCH
                                      NEHA DESAI
  6                                   FREYA PITTS
                                      POONAM JUNEJA
  7                                   CRYSTAL ADAMS
                                      National Center for Youth Law
  8
                                      SUMMER WYNN
  9                                   MARY KATHRYN KELLEY
                                      JON F. CIESLAK
10                                    MEGAN DONOHUE
                                      Cooley LLP
11
12                                     By: /s/ Jon F. Cieslak
13                                        Jon F. Cieslak

14                                        Attorneys for Plaintiffs

15    Dated: March 12, 2019           ERNESTO H. MOLINA, JR.
                                      JEFFREY S. ROBINS
16                                    BENJAMIN MARK MOSS
                                      W. DANIEL SHIEH
17                                    ANDREW B. INSENGA
                                      SHERRY D. SOANES
18                                    MARINA C. STEVENSON
                                      NICOLA T. HANNA
19                                    DAVID M. HARRIS
                                      JOANNE S. OSINOFF
20                                    DAVID PINCHAS

21
22                                     By: /s/ W. Daniel Shieh
                                          W. Daniel Shieh
23
                                          Attorneys for Defendants (Official
24                                        Capacity Only)
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28
                                                                 STIPULATED PROTECTIVE ORDER
                                          10.                   CASE NO. 18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 158 Filed 03/12/19 Page 13 of 16 Page ID
                                 #:4752

  1   Dated: March 12, 2019                 NICOLA T. HANNA
                                            DAVID M. HARRIS
  2                                         JOANNE S. OSINOFF
                                            DAVID PINCHAS
  3
  4
  5                                         By: /s/ David Pinchas
                                               David Pinchas
  6
                                               Attorneys for Defendant E. Scott Lloyd
  7
      Pursuant to Local Rule 5-4.3.4(i),    COOLEY LLP
  8   I certify that all of the above
  9   signatories concur in this filing’s
      content and have authorized the       By: /s/ Jon F. Cieslak
10    filing.                                  Jon F. Cieslak
11                                             Attorneys for Plaintiffs
      Dated: March 12, 2019
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                                                                      STIPULATED PROTECTIVE ORDER
                                               11.                   CASE NO. 18-CV-05741 DMG PLA
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                                 #:4753

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  9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
                                    WESTERN DIVISION
12
13 LUCAS R., et al.,                            Case No. 2:18-CV-05741 DMG PLA
14                    Plaintiffs,               [PROPOSED] STIPULATED
                                                PROTECTIVE ORDER
15          v.
16    ALEX AZAR, Secretary of U.S.
      Department of Health and Human
17    Services, et al.,
18                    Defendants.
19
20          Having considered the papers, and finding that good cause exists, the Court
21    hereby enters the Parties’ Stipulated Protective Order.
22
23
24          IT IS SO ORDERED.
25
26    DATED: March ____, 2019                        __________________________
                                                     PAUL L. ABRAMS
27                                                   United States Magistrate Judge
28
                                                           [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                1.                  CASE NO. 18-CV-05741 DMG PLA
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                                 #:4754

  1                                      EXHIBIT A
  2
  3                         UNITED STATES DISTRICT COURT
  4                       CENTRAL DISTRICT OF CALIFORNIA
  5                                 WESTERN DIVISION
  6 LUCAS R., et al.,                           Case No. 2:18-CV-05741 DMG PLA
  7                 Plaintiffs,                 [PROPOSED] STIPULATED
                                                PROTECTIVE ORDER
  8         v.
  9   ALEX AZAR, Secretary of U.S.
      Department of Health and Human
10    Services, et al.,
11                    Defendants.
12
13                                  ACKNOWLEDGMENT
14
15          I ___________________________, am aware of the litigation in Lucas R. et
16    al., v. Azar, et al., No. 2-18-CV-05741-DMG (C.D. Cal.) in the capacity of
17    _________________________. I do solemnly swear or aver that I am fully familiar
18    with the terms of the Stipulated Protective Order (“Protective Order”) in the above
19    referenced matter on ________________, and hereby agree to comply with and be
20    bound by its terms and conditions unless and until it is modified by further Order of
21    the United States District Court for the Central District of California (“Court”). I
22    also acknowledge that I have reviewed the provisions of the Protective Order
23    governing “Confidential Personal Information”, and understand that this information,
24    which may include personally identifiable information, confidential commercial or
25    financial information, or medical information, may be disclosed to me. I understand
26    that such information shall not be disclosed, disseminated, or distributed to any
27    person who is not authorized to receive it in accordance with paragraph 6 of the
28    Protective Order. For these reasons, I specifically acknowledge consent and agree to
                                                         EX. A TO [PROPOSED] STIPULATED PROTECTIVE
                                               1.                                           ORDER
                                                                     CASE NO. 18-CV-05741 DMG PLA
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  1   the disclosure requirements, limits and restrictions of the Protective Order and hereby
  2   consent
  3   to the jurisdiction of the Court for purposes of enforcing this Order.
  4
  5   Executed this ___ day of _____________ by ______________________________
                                               (Print Name)
  6
  7   Signed__________________________________________________________
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                                                          EX. A TO [PROPOSED] STIPULATED PROTECTIVE
                                                2.                                           ORDER
                                                                      CASE NO. 18-CV-05741 DMG PLA
